         Case 1:14-cv-01589-EGS Document 86 Filed 09/10/20 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  ACCURACY IN MEDIA, INC., et al.,

                         Plaintiffs,

                  v.                                   Civil Action No. 14-1589 (EGS/DAR)

  DEPARTMENT OF DEFENSE, et al.,

                         Defendants.


                          DEFENDANTS’ NOTICE REGARDING
                           REPORT AND RECOMMENDATION

       On August 27, 2020, Magistrate Judge Deborah A. Robinson issued a Report and

Recommendation in this Freedom of Information Act (FOIA) case. See ECF No. 83. The

Report and Recommendation recommended (1) denying Plaintiffs’ motion to propound

discovery, and (2) granting summary judgment to the government on all issues except for the

FBI’s assertion of a Glomar response regarding certain documents. Id. at 33. The Report and

Recommendation further recommended that Defendants be ordered to produce a supplemental

declaration providing additional support for the FBI’s Glomar response.

       Defendants hereby provide notice that they do not intend to file written objections to the

Report and Recommendation. See Local Rule 72.3(b). Further, the FBI states that it no longer

intends to maintain its prior Glomar assertion. Instead, the FBI intends to conduct a search for

responsive records that would have been covered by the Glomar assertion. Should responsive

records exist, the FBI will process the records subject to FOIA. Because the FBI’s Glomar

response concerned a request for records relating to the ongoing investigation into the 2012

attack on the U.S. Embassy in Benghazi, Libya, the FBI may ultimately determine that many or

all of the records fall within FOIA’s exemptions and are not appropriate for release.
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         Case 1:14-cv-01589-EGS Document 86 Filed 09/10/20 Page 2 of 2




Nonetheless, the FBI intends to begin searching for potentially responsive records and will then

determine appropriate redactions.



DATED: September 10, 2020                           Respectfully submitted,

                                                    JEFFREY BOSSERT CLARK
                                                    Acting Assistant Attorney General

                                                    ELIZABETH J. SHAPIRO
                                                    Deputy Director
                                                    Federal Programs Branch

                                                    /s/ Joshua C. Abbuhl
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